Case 2:18-cv-07188-VAP-SK Document 71-1 Filed 05/12/20 Page 1 of 3 Page ID #:1179



   1 Mathew K. Higbee, Esq., SBN 241380
     Ryan E. Carreon, Esq., SBN 311668
   2 HIGBEE & ASSOCIATES
     1504 Brookhollow Dr., Suite 112
   3 Santa Ana, CA 92705
     (714) 617-8336
   4 (714) 597-6729 facsimile
     Email: mhigbee@higbeeassociates.com
   5 rcarreon@higbeeassociates.com
   6 Attorney for Plaintiff,
     JEFFERY R. WERNER,
   7
   8                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
   9
      JEFFERY R. WERNER,                   Case No. 2:18-cv-07188-VAP-SK
  10
                              Plaintiff,   DECLARATION OF RYAN E.
  11 v.                                    CARREON
  12   EVOLVE MEDIA, LLC;
       CRAVEONLINE, LLC;
  13   TOTALLYHER MEDIA, LLC and
       DOES 3-25, inclusive,
  14
                             Defendants.
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Case 2:18-cv-07188-VAP-SK Document 71-1 Filed 05/12/20 Page 2 of 3 Page ID #:1180



   1                       DECLARATION OF RYAN E. CARREON
   2         I, Ryan E. Carreon, declare as follows:
   3         1.       I am an attorney at law duly authorized to practice in the state of
   4   California and the Central District. I am over the age of 18 years old and I have
   5   personal knowledge of the matters stated herein. If called as a witness I could and
   6   would testify thereto.
   7         2.       I am the attorney of record for Plaintiff Jeffery R. Werner, Inc. in this
   8   action.
   9         3.       Pursuant to L.R. 7-3, I spoke with attorney for Defendants, Ricardo
  10   Chavez, by telephone on April 30, 2020 to discuss the substance of Werner’s
  11   Motion for Attorneys’ Fees.
  12         4.       I was the primary attorney for Mr. Werner on this matter.
  13         5.       In addition to myself, three other attorneys and support staff also
  14   worked on this case, however Mr. Werner has agreed to waive any time and fees
  15   incurred by other attorneys and staff in connection with this Motion in order to
  16   eliminate any duplicative and excessive work which may have been billed.
  17         6.       Higbee & Associates operates exclusively on a contingency basis and
  18   therefore does not have a traditional hourly rate that it typically charges its clients,
  19   including Werner.
  20         7.       Nevertheless, I believe that my a rate of $380 an hour is appropriate
  21   and in line with prevailing market rates for attorneys with similar levels of
  22   experience who handle copyright cases the Los Angeles area.
  23         8.       I have nearly four years experience as a practicing attorney and I am
  24   currently a junior associate at Higbee & Associates where I have worked for nearly
  25   three years.
  26         9.       Prior to my employment at Higbee & Associates I worked at the
  27   Kernan Law Firm, an entertainment and intellectual property litigation firm in
  28   Hollywood.

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Case 2:18-cv-07188-VAP-SK Document 71-1 Filed 05/12/20 Page 3 of 3 Page ID #:1181



   1         10.    Since I have been barred, I have practiced exclusively in entertainment
   2   and intellectual property litigation.
   3         11.    In that time, I have litigated a multitude of cases to judgment, and have
   4   argued cases in front of the California State Court of Appeals and Ninth Circuit.
   5         12.    In this matter, I incurred approximately 132.2 hour. In addition, my
   6   client incurred costs of $915.03.
   7         13.    A true and correct breakdown of my time as well as the costs incurred
   8   in this matter are reflected on the time sheet, which is attached hereto as Exhibit A.
   9
  10         I declare under penalty of perjury that the foregoing is true and correct under
  11   the laws of the United States of America.
  12         Executed this May 12, 2020, at Tustin, California,
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                                                       __________________
  14                                                     Ryan E. Carreon
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